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 PROB 12C                                                                                  Report Date: July 19, 2024
(6/16)

                                        United States District Court                                      FILED IN THE
                                                                                                      U.S. DISTRICT COURT
                                                                                                EASTERN DISTRICT OF WASHINGTON

                                                        for the
                                                                                                  Jul 22, 2024
                                         Eastern District of Washington                              SEAN F. MCAVOY, CLERK



                   Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Kenneth Richard Rowell                      Case Number: 0980 2:13CR06070-SAB-1
 Address of Offender:                             , Pasco, Washington 99301
 Name of Sentencing Judicial Officer: The Honorable Wm. Fremming Nielsen, Senior U.S. District Judge
 Name of Supervising Judicial Officer: The Honorable Stanley A. Bastian, Chief U.S. District Judge
 Date of Original Sentence: May 19, 2014
 Original Offense:        Distribution of a Controlled Substance - Methamphetamine, 21 U.S.C. § 841(a)(1),
                          (b)(1)(B)(viii)
 Original Sentence:       Prison - 120 months                  Type of Supervision: Supervised Release
                          TSR - 8 years
 Asst. U.S. Attorney:     Brandon Pang                         Date Supervision Commenced: May 10, 2022
 Defense Attorney:        Federal Defender                     Date Supervision Expires: May 9, 2030


                                          PETITIONING THE COURT

To incorporate the violations contained in this petition in future proceedings with the violations previously reported
to the Court on May 29, 2024.

On May 13, 2022, all the conditions of supervised release were reviewed with Mr. Rowell. He signed a copy of his
conditions, and was provided with a copy.

The probation officer believes that the offender has violated the following conditions of supervision:


 Violation Number       Nature of Noncompliance

            9           Special Condition #15: You shall undergo a substance abuse evaluation and, if indicated
                        by a licensed/certified treatment provider, enter into and successfully complete an approved
                        substance abuse treatment program, which could include inpatient treatment and aftercare.
                        You shall contribute to the cost of treatment according to your ability to pay. You shall allow
                        full reciprocal disclosure between the supervising officer and treatment provider.

                        Supporting Evidence: Mr. Rowell is considered to be in violation of his term of supervised
                        release by failing to comply with inpatient substance abuse treatment on or about June 7,
                        2024.

                        Mr. Rowell completed a re-assessment on May 22, 2024, at Merit Resource Services (Merit),
                        he requested to go to inpatient treatment, and he was recommended to enter and complete
                        inpatient substance abuse treatment due to his on-going drug use. Mr. Rowell entered
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                 inpatient treatment at The Center for Alcohol and Drug Treatment in Wenatchee,
                 Washington, as scheduled on May 29, 2024. Treatment staff reported Mr. Rowell entered
                 the program under the influence of methamphetamine, amphetamine, cocaine, fentanyl, and
                 alcohol, and he completed the withdrawal process within 5 days. Mr. Rowell demonstrated
                 behaviors of manipulation toward staff and his peers, dishonesty, and he smuggled two cell
                 phones into the facility.

                 Mr. Rowell aborted inpatient treatment on June 7, 2024.


          10     Mandatory Condition # 3: The defendant shall not unlawfully possess a controlled
                 substance. The defendant shall refrain from any unlawful use of a controlled substance. The
                 defendant shall submit to one drug test within 15 days of release from imprisonment and at
                 least two periodic drug tests thereafter, as determined by the Court.

                 Supporting Evidence: Mr. Rowell is considered to be in violation of his term of supervised
                 release by possessing illegal controlled substances, fentanyl, cocaine, heroin, and crack
                 cocaine, on or before July 15, 2024,

                 On July 15, 2024, the undersigned officer with the assistance of other United States
                 Probation Officers completed a planned search of Mr. Rowell’s listed address, 1831 West
                 Henry Street, Pasco, Washington. During this search, a plethora of suspected narcotics were
                 located inside the defendant’s residence. Several clear bags filled with different suspected
                 narcotics including white powder substance; white powder in a block form; a dark brown
                 substance; numerous small round blue and purple pills with a letter M pressed on one side
                 of the pills were found piled, overflowing, inside the toilet bowl in the hallway bathroom
                 leading to the defendant’s bedroom. Several small round blue pills with the letter M were
                 also found scattered throughout the bathroom floor. Two large clear bags about gallon size
                 Ziploc bags containing several smaller clear bags inside filled with small blue and purple
                 round pills with the letter M pressed on one side of the pills were located in the attic of the
                 defendant’s residence. Access to the attic is located in the hallway right outside the
                 defendant’s bedroom.

                 The suspected narcotics were transferred to the custody of Drug Enforcement Administration
                 (DEA) agents, who later confirmed the substances were tested, and also reported the current
                 estimated amounts are approximately 17, 000 fentanyl pills, 740 grams of cocaine, 60 grams
                 of heroin, and 17 grams of methamphetamine.

                 Mr. Rowell illegally possessed these controlled substances at his residence.
          11     Mandatory Condition # 5: The defendant shall not possess a firearm, ammunition,
                 destructive device, or any other dangerous weapon.

                 Supporting Evidence: Mr. Rowell is considered to be in violation of his term of supervised
                 release by possessing dangerous weapons on or before July 15, 2024.

                 From the search mentioned above, a black Fantasy Master knuckle knife with blades on both
                 edges and a brass baton were located inside the defendant’s bedroom. Black throwing stars
                 were also located in the kitchen.
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